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   8 ALLSTATE INSURANCE COMPANY
   9
  10                            UNITED STATE DISTRICT COURT
  11                           CENTRAL DISTRICT OF CALIFORNIA
  12
  13 ALAN BAKER,                                   Case No. 2:19-cv-08024-ODW-JC
     LINDA B. OLIVER,
  14                                               REPLY IN SUPPORT OF
               Plaintiffs,                         ALLSTATE’S MEMORANDUM OF
  15                                               COSTS AND FEES
          v.
  16
     ALLSTATE INSURANCE                            Hon. Otis D. Wright II
  17 COMPANY, EDWARD CARRASCO,
     and DOES 1 through 10, inclusive,             Dept:    First Street Courthouse,
  18                                               Courtroom 5D
               Defendants.
  19                                               Complaint Filed: August 16, 2018
                                                   Trial Date: Not yet set.
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   1 I.         Introduction
   2            From reading Christopher Hook’s response to Allstate’s memorandum of
   3 costs, one might think that, as soon as Allstate filed its ex parte application, Hook
   4 immediately withdrew as counsel, agreed to halt all depositions, and apologized to
   5 Allstate’s lawyers for his slurs and threats of physical violence. But nothing could
   6 be further from the truth. Far from withdrawing, Hook opposed the application and
   7 fought tooth and nail to stay in this case. Far from agreeing with Allstate’s request
   8 to put a hold on depositions, Hook asked the Court to order Allstate to proceed with
   9 previously-noticed depositions. And far from apologizing, Hook contended that his
  10 misconduct was Allstate’s fault, and he requested sanctions against Allstate for
  11 having the temerity to complain.
  12            As a result, Allstate had no choice but to file the reply brief that Hook now
  13 claims was “unnecessary.” Far from being moot, the reply brief was Allstate’s only
  14 opportunity to respond to the multiple meritless arguments Hook raised in his
  15 opposition brief. And although Hook disingenuously suggests that he was already
  16 removed from the case, in fact, he was fired after Allstate filed its reply.
  17            Setting aside Hook’s revisionist history, it is clear that the time spent making
  18 sure that he ceased his misconduct and stayed away from Allstate’s employees,
  19 lawyers, and their families was both necessary and appropriate. Indeed, the content
  20 of Hook’s emails made clear that the relief Allstate sought – and which Hook
  21 opposed – was critically important. None of the requested relief was moot until
  22 Hook’s clients fired him just a few days before the hearing.
  23            When he appeared in Court, even Hook agreed that he should pay Allstate for
  24 the time it had expended through the date of the hearing. But now, instead of
  25 owning up to what he has done, Hook again attempts to minimize the severity of his
  26 misconduct, shift blame to Allstate, and disingenuously characterize what Allstate’s
  27 counsel needed to do to in response to his actions. If anything, Hook’s most recent
  28 brief proves that he still does not grasp the gravity of what he has done and the

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   1 damage it caused. The Court should order Hook to compensate for the full $41,748
   2 that his misconduct forced Allstate to incur.
   3 II.        Background
   4            A timeline of the events that led to Allstate’s filing of its bill of costs refutes
   5 Hook’s new arguments.
   6            In late November 2019, Hook began his campaign of misconduct that started
   7 with profanity-laced emails, escalated to slurs, and culminated in repeated threats of
   8 physical violence. See Dkt. No. 22-1. Because depositions were scheduled for early
   9 December, there was no time to bring a noticed motion to prevent Hook from being
  10 in a deposition room with the people he had threatened. See Dkt. No. 22, ¶ 5.
  11 Allstate therefore filed an ex parte application as soon as possible seeking: (1)
  12 dismissal of the case; (2) disqualification of Hook; (3) a Temporary Restraining
  13 Order against Hook; (4) a protective order regarding the pending depositions; and
  14 (5) sanctions. Dkt. No. 21.
  15            The next week, the Court issued an order noting that Hook had not responded
  16 to the application. Dkt. No. 25. The order suspended all depositions and ordered
  17 the parties (including the plaintiffs in this case, Mr. Baker and Ms. Oliver) to appear
  18 for a hearing on December 16. Id.
  19            The next day, Hook filed an opposition brief (purportedly on behalf of his
  20 clients) where he: (1) argued that his conduct was “no basis” for disqualifying him
  21 as plaintiffs’ “counsel of choice,” Dkt. No. 26 at 5; (2) asked the Court to order
  22 Allstate to proceed with previously-noticed depositions, id. at 2, 9; and (3)
  23 vigorously defended his conduct as “privileged” settlement negotiations, hearsay,
  24 unauthenticated, puffery, and protected by the First Amendment and California’s
  25 Anti-SLAPP statute, id. at 7-9. Hook showed no compunction for what he had
  26 done. To the contrary, he argued that Allstate was actually at fault for his conduct
  27 because “defense counsel caused or contributed to the alleged situation by refusing
  28 to communicate with Plaintiffs’ counsel.” Id. at 7. Hook sought sanctions against

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   1 Allstate for having brought its request for relief. Id. at 1-2.
   2            In light of the potentially serious consequences that would follow if the Court
   3 were to grant Hook’s request that the case proceed uninterrupted with him as
   4 counsel, Allstate promptly researched Hook’s legal arguments, and filed a reply
   5 brief addressing each of them. Dkt. No. 27.
   6            About a week after Allstate filed its reply, and just a few days before the
   7 hearing on Allstate’s application, plaintiffs fired Hook. Dkt. No. 31. Plaintiffs
   8 revealed that Hook filed his opposition without informing them of his actions,
   9 Allstate’s application, or the Court’s order that they appear at the hearing. Id. Hook
  10 then went on the Adam Carolla Show, where he continued to trivialize his
  11 misconduct and criticize Allstate. The Adam Carolla Show, Dec. 14, 2019,
  12 https://www.youtube.com/watch?v= 3PxUEacrCSQ. When a host of the show
  13 suggested that some of his emails included threats, Hook said that was “bulls---.”
  14 Id. at 5:35-50. And he bragged that “there is a limit to what the court can do to me,
  15 and what the bar can do to me.” Id. at 7:07-18.
  16            At the December 16 hearing, the Court recognized the extraordinary severity
  17 of what Hook had done. Hook had “brought shame to the profession.” Dkt. No. 44
  18 at 5. The Court had “never seen anything like” Hook’s conduct. Id. at 8. The Court
  19 also acknowledged that the relief Allstate sought was warranted. If plaintiffs had
  20 condoned Hook’s conduct “this case was going to be history.” Id. at 6. The Court
  21 was “terribly concerned” about the depositions Hook had pushed to reinstate, and
  22 “could imagine how those depositions would have proceeded.” Id. at 6-7. Because
  23 plaintiffs had fired Hook a few days earlier, however, the Court stated that the
  24 request to disqualify him as counsel had been mooted, as had the stay on
  25 depositions. Id. Likewise, while the Court acknowledged the concerns about
  26 keeping Hook away from Allstate’s employees, lawyers, and their families, that too
  27 was mooted when he was fired. Id. at 7-8.
  28            On the issue of monetary sanctions, Hook admitted that he owed Allstate for

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   1 its costs and fees through the date of the hearing. Id. at 16. The Court asked Hook
   2 “tell me why you aren’t responsible for the cost and fees incurred in preparing the
   3 ex parte application and appearing here.” Id. In stark contrast to what he says now,
   4 Hook told the Court “I’ll pay them. I’ll submit. I’ll pay.” Id.
   5 III.       Allstate’s ex parte application was not “moot” or “unnecessary”
   6            Hook now attempts to rewrite this history. Dkt. No. 46. After describing his
   7 conduct as merely “uncivil,” he asserts that “Allstate’s response to the situation was
   8 also unnecessary.” Id. at 1. “Despite Hook’s contrition,” the response explains,
   9 “Allstate elected to file an application that was largely moot, save for a request for
  10 sanctions based on its filing.” Id. The written record in this case demonstrates that
  11 no part of that is true. Nothing was moot until plaintiffs fired Hook. Dkt. No. 44 at
  12 6-8. That happened weeks after Allstate filed its application, and several days after
  13 Allstate filed its response to Hook’s opposition. Dkt. Nos. 21, 26, 27, 31. In other
  14 words, Allstate’s response was absolutely necessary, and no less would be tolerable
  15 in light of Hook’s threats of physical violence to innocent employees, attorneys and
  16 family members.
  17 IV.        Hook’s meet and confer argument is absurd
  18            Once Hook made his threats, there was no proceeding in this case with him as
  19 counsel. Under Local Rules 7-19.2, there was also no need for Allstate to schedule
  20 a meet and confer to obtain Hook’s position on his threats. Hook now argues that if
  21 Allstate had met and conferred with him about the relief it sought in its application,
  22 “the application would not have been necessary.” Dkt. No. 46 at 2. Hook’s own
  23 actions again belie his contentions. Hook did not withdraw from the case, or agree
  24 to stay depositions. To the contrary, he aggressively opposed the application, asked
  25 the Court to reinstate the noticed depositions, blamed Allstate for his conduct, and
  26 asked the Court to sanction Allstate. Dkt. No. 26.
  27            And this brings us to a related falsehood that Hook makes no less than 5 times
  28 in his response: His repeated contention that he has apologized to Allstate and its

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   1 counsel. Dkt. No. 46 at 1, 2, 3, 5. The Court can scour the numerous filings and
   2 hearing transcript in this case and nowhere will it find an apology to Allstate or its
   3 counsel. Indeed, to this day, Hook has never apologized to Allstate or its lawyers –
   4 whether in writing or verbally – for any of his misconduct, or for causing family
   5 members to fear for their safety. See Exhibit 1 (declaration of Peter Klee), ¶ 2. The
   6 fact that Hook has continued to peddle this falsehood is a testament to his lack of
   7 actual contrition.
   8 V.         Allstate is entitled to fees and costs through the date of the hearing
   9            Hook now suggests that the Court should not impose sanctions for any fees
  10 incurred after the filing of the application. Dkt. No. 46 at 2. This too makes no
  11 sense. Hook should pay for Allstate’s fees through the date of the hearing, just like
  12 the Court ordered, and just like he told the Court he would. Dkt. No. 44 at 16, 17.
  13 VI.        Allstate’s costs and fees are appropriate
  14            Aside from downplaying the severity of his misconduct, blaming Allstate for
  15 reacting to his threats, making false claims about apologies that never occurred, and
  16 offering a temporally inaccurate picture of what Allstate needed to do and when,
  17 Hook also challenges Allstate’s billings as “unreasonable.” Dkt. No. 46 at 3.
  18            As an initial matter, in light of the gravity of what was at stake, there can be
  19 no doubt that Allstate needed to do the work necessary to prevail on its application.
  20 As the Court described it, “a whole lot of things would have happened in that
  21 conference room” if depositions had proceeded, “but none of it would have been a
  22 deposition.” Dkt. No. 44 at 12. Hook’s after the fact attempt to nit-pick Allstate’s
  23 billing entries should be disregarded for this reason alone.
  24            More importantly, Hook’s criticisms should be disregarded because they are
  25 based on mischaracterizations of the contents of Allstate’s billing entries. For
  26 example:
  27            1.       Allstate’s counsel did not spend “8.6 hours to read settlement
  28 demands,” as Hook falsely asserts. In addition to reading the over 100 emails that

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   1 Hook sent, the entries Hook appears to be referencing also included (i) time spent
   2 researching bases for sanctions and dismissal of the case based on the emails, (ii)
   3 evaluating options for dealing with Hook’s conduct, and (iii) outlining a motion to
   4 respond to the threats. Dkt. No. 40-1 at 1-10, 13.
   5            2.         The time spent researching and drafting the application was
   6 appropriate. True to form, Hook’s suggestion that it was not is based on a
   7 misrepresentation about the number of pages in the application. Dkt. No. 46 at 4.
   8 And Hook overlooks that his behavior was unprecedented; not something that could
   9 be addressed through a form pleading.
  10            3.       Hook also misrepresents that Allstate’s lawyers spent 10 hours “to
  11 review opposition papers.” Apart from the fact that10 hours would seem reasonable
  12 to review Hook’s 463 page filing [Dkt. No. 26], in fact, Allstate spent far less time
  13 than that; Hook comes to 10 hours by including time spent outlining and drafting
  14 Allstate’s reply brief. Dkt. No. 40-1 at 11. Hook’s attempt to characterize this as
  15 simply reading his brief is indefensible.
  16            4.       Hook suggests – without citing any authority – that 20.1 hours was too
  17 much time to draft Allstate’s 10-page reply. But a two-hours-per-page ratio is well
  18 within what courts have found reasonable, especially in light of Hook’s strategy of
  19 raising numerous novel privilege and evidentiary objections to defend his
  20 threatening emails. See, e.g., Maldonado v. Houstoun, 256 F.3d 181, 185-87 (3d
  21 Cir. 2001) (finding it reasonable to bill 120 hours for a 41 page brief worked on by
  22 multiple lawyers and consisting of one uncomplicated issue, which had already been
  23 briefed by parties and discussed at length in a “well-written and thorough opinion”
  24 at the district court level).
  25            5.       Hook suggests – again without citation to authority – that Allstate’s
  26 counsel should not have billed for the time needed to travel for the hearing. This
  27 argument, too, is contrary to law. Meola v. JKJ Investments Inc., 2011 WL
  28 1638163, at *3 (C.D. Cal. Apr. 28, 2011) (awarding travel time from San Diego,

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   1 where the attorney practiced, for necessary hearings); Biovail Laboratories Inc., v.
   2 Anchen Pharmaceuticals, Inc., 233 F.R.D. 648, 655 (C.D. Cal. 2006) (awarding
   3 sanctions including the cost of round-trip airfare and two nights lodging); Drop Stop
   4 LLC v. Jian Qing Zhu, 2018 WL 1407031, at *8 (C.D. Cal. Jan. 22, 2018) (“The
   5 argument that two attorneys should not be allowed to attend mediation, hearings, or
   6 conference calls is particularly unpersuasive.”). Additionally, if Hook did not want
   7 to pay for two lawyers to attend the hearing, he should not have made threats to two
   8 lawyers. And Hook’s emails show that he knew exactly where counsel would be
   9 traveling from when he made his threats.
  10            6.       Shallow criticisms aside, Hook does not and cannot dispute that every
  11 time entry reflects time that Allstate’s counsel had to spend as a direct result of his
  12 bad acts and the arguments he raised in his opposition brief. Klee Dec., ¶ 3.
  13 VII. Conclusion
  14            For the foregoing reasons, as well as the support found throughout the record
  15 of these proceedings, the Court should order Hook to compensate Allstate for the
  16 full $41,748 that it needlessly incurred.
  17
  18 Dated: January 17, 2020
  19                                SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
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  21
                                    By                       /s/ Jack Burns
  22                                                       PETER H. KLEE
  23                                                      MARC J. FELDMAN
                                                            JACK BURNS
  24
  25                                                  Attorneys for Defendant
                                                 ALLSTATE INSURANCE COMPANY
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